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14

15                         UNITED STATES DISTRICT COURT
16
                          CENTRAL DISTRICT OF CALIFORNIA
17

18
     LIZA GUNAWAN AND DANNY                      Case No.: 8:13-cv-01356 CJC (SHx)
19
     CANLAS, on behalf of themselves and all
20   others similarly situated,                  DEFENDANT KFORCE INC.’S
                                                 NOTICE OF MOTION AND
21
                       Plaintiffs,               MOTION FOR SUMMARY
22                                               JUDGMENT; MEMORANDUM OF
                 v.                              POINTS AND AUTHORITIES IN
23
                                                 SUPPORT
24   HOWROYD-WRIGHT EMPLOYMENT
     AGENCY, INC.; KFORCE INC.;                  Date:      January 13, 2014
25
     WORKWAY; and DOES 1-100,                    Time:      1:30 p.m.
26                                               Courtroom: 9B
                       Defendants.               Judge: The Hon. Cormac J. Carney
27
     //
28


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1    TO PLAINTIFF LIZA GUNAWAN AND HER ATTORNEYS OF RECORD:
2            PLEASE TAKE NOTICE that on January 13, 2014 at 1:30 p.m., or as soon
3    thereafter as this matter may be heard by Judge Cormac J. Carney in Courtroom          9B
4    of the above-entitled Court, located at 411 West Fourth Street, Santa Ana, California
5    92701, Defendant Kforce Inc. (“Kforce”) will, and hereby does, move the Court for
6    summary judgment on Plaintiff Liza Gunawan’s claims alleged against Kforce as set
7    forth below. Kforce’s Motion is brought under Rule 56 of the Federal Rules of Civil
8    Procedure and based on the ground that there is no genuine dispute as to any material
9    facts on Plaintiff’s claims as set forth below. Plaintiff thus cannot establish her
10   specific claims as follows on these grounds:
11           Plaintiff cannot establish her First Cause of Action for minimum wage because
12   she was not an “employee” at the time of her interview, but rather was only an
13   applicant or prospective employee and thus cannot recover payment of minimum
14   wage;
15           Plaintiff cannot establish claims in her Second Cause of Action for penalties for
16   alleged inaccurate itemized wage payment statements because no wages were due for
17   her interview time, so her wage statement thus cannot have been inaccurate in not
18   including such payment; there is no requirement that wage payment statements list
19   year-to-date earnings, so there cannot have been any violation in that respect; the law
20   does not require listing the client’s name and address as an employer, and new
21   requirements concerning temporary services employers were not applicable in
22   Plaintiff’s situation, so there cannot have been any violation; Plaintiff’s wage
23   statements included her Kforce employee identification number in compliance with the
24   law; Plaintiff was provided with documentation correctly showing payment of her “net
25   pay” for the final week of her assignment, so there was no violation; any violation was
26   not knowing and intentional, as required for imposition of any penalties; and Plaintiff
27   cannot establish any injury as the result of any violation.
28           Plaintiff cannot establish her Third Cause of Action because she lacks a private
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1    right of action under California Labor Code sections 212, 213, 221, and 223 and, in
2    any event, Kforce did not violate any of these provisions.
3          Plaintiff cannot establish her Fourth Cause of Action because she was not due
4    any unpaid wages for interview time, Kforce did not fail to pay her net pay for the last
5    week of Plaintiff’s assignment, and any wages due are the subject of a bona fide, good
6    faith dispute, precluding an award of waiting time penalties.
7          Plaintiff cannot establish her Fifth Cause of Action for unfair business practices
8    because it fails for the same reasons as other, underlying causes of action.
9          Kforce’s Motion is based upon this Notice of Motion and Motion, the attached
10   Memorandum of Points and Authorities, the pleadings and papers on file in this action,
11   the supporting declarations of Lauren Chandler, Jerri Filicicchia, Cynthia Rodriguez,
12   Jennifer Specht, and Gloria Torres filed with this Motion, Kforce’s Request for
13   Judicial Notice, any opposition and reply papers and any evidence submitted with
14   them, any papers and evidence submitted concerning any cross-motion by Plaintiff,
15   and upon such other matters and argument as may be presented to the Court at the time
16   of hearing.
17         This Motion is made following the conference of counsel pursuant to Local Rule
18   7-3, which took place by telephone on November 18, 2013.
19
     Dated: November 25, 2013               Respectfully Submitted,
20
                                            NIXON PEABODY LLP
21

22                                    By:    /s/ Paul R. Lynd
                                            Paul R. Lynd
23                                          Attorneys for Defendant
24                                          KFORCE INC.
25

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1             KFORCE’S MEMORANDUM OF POINTS AND AUTHORITIES
2    I.      INTRODUCTION AND SUMMARY OF ARGUMENT
3            Plaintiff Liza Gunawan’s lawsuit against Defendant Kforce Inc. is based on a
4    remarkable proposition – that a prospective employer should have to pay for all
5    interview time, even when the interview is with an applicant and there was no previous
6    relationship. Not surprisingly, no case supports such a requirement. To the contrary,
7    the available authority points in the opposite direction from Plaintiff’s contention.
8    Plaintiff overlooks the fundamental requisite that wages are only due an “employee,”
9    which an applicant or a prospective employee is not. At that stage, an employment
10   relationship has not yet formed. Yet, largely because of Kforce’s alleged control
11   essentially in scheduling an interview at an appointed time, Plaintiff claims that she
12   should have to be paid. She is wrong. As discussed, Plaintiff’s interview with a
13   Kforce client for a possible work assignment took place when Plaintiff was a mere
14   applicant and prospective employee. Plaintiff concedes as much, as her First Amended
15   Complaint alleges that she was only “interviewing for employment.” FAC ¶ 33.
16   Plaintiff had no previous relationship or assignment with Kforce. She did not even
17   complete or sign any employment paperwork – including an Employee Agreement –
18   until after the interview, after she received an offer, and after she accepted.
19           Simply put, on the law and the facts here, Plaintiff cannot be due any wages for
20   her interview time. Under Plaintiff’s logic, every employer – or at least every staffing
21   industry firm – would be forced to pay every applicant for time spent on an initial
22   interview for employment.       This notion is against the law and common sense.
23   Plaintiff’s wage claim should be dismissed because she and Kforce did not yet have an
24   employment relationship at the time of the interview. In addition, Plaintiff’s derivative
25   and additional wage and hour claims against Kforce fail as well. Therefore, Kforce’s
26   Motion for Summary Judgment should be granted.
27   II.     PROCEDURAL HISTORY
28           On June 18, 2013, Plaintiff filed suit in Orange County Superior Court. On June
                                           1
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1    27, 2013, without serving her initial complaint, Plaintiff filed a First Amended Class
2    Action Complaint for Damages, Penalties, Restitution and Injunctive Relief (“FAC”).
3    It alleged claims against Kforce, Howroyd-Wright Employment Agency, Inc. (doing
4    business as “Apple One”), and Workway.             All three defendants are professional
5    staffing firms. FAC ¶¶ 11-15. Although Plaintiff alleged similar claims against the
6    three defendants, they have no relationship to each other with respect to the claims in
7    this case. See Dkt. No. 5, Nichols Decl., ¶¶ 2-7.
8    Kforce acknowledged receipt and accepted service. See Cal. Code Civ. Proc. § 415.30.
9    On August 28, 2013, Kforce filed an Answer in state court, with a general denial. See
10   Dkt. No. 1, Exh. J; Cal. Code Civ. Proc. § 431.30(d). On August 30, 2013, Kforce
11   timely removed the action pursuant to the Class Action Fairness Act. On September
12   10, 2013, Plaintiff filed a Notice of Dismissal with respect to Defendant Howroyd-
13   Wright Employment Agency, Inc. See Dkt. 11.
14   On October 31, 2013, the Court issued an Order converting Workway’s pending
15   Motion to Dismiss into a Motion for Summary Judgment. The Court also ordered
16   Kforce to this Motion for Summary Judgment by November 25, 2013. See Dkt. 26.
17   III.     PLAINTIFF’S CLAIMS AGAINST KFORCE
18            Plaintiff asserts five causes of action against Kforce. The First Cause of Action
19   seeks payment of minimum wage under California Labor Code section 1194 for time
20   she spent interviewing before being hired by Kforce and its client for her one and only
21   assignment with Kforce.1 The Second Cause of Action seeks penalties under section
22   226 for alleged violations of itemized pay statement requirements. Plaintiff’s Third
23   Cause of Action alleges claims concerning payment of wages by debit paycard, along
24   with a claim of alleged secret underpayment of wages for the last week of Plaintiff’s
25   assignment. The Fourth Cause of Action seeks waiting time penalties under section
26

27   1
         All statutory citations are to the California Labor Code, unless otherwise indicated.
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1    203, related to Plaintiff’s underlying wage claims. Finally, Plaintiff’s Fifth Cause of
2    Action repackages her other underlying causes of action as an Unfair Competition Law
3    claim under California Business and Professions Code section 17200 et seq.
4    IV.     STATEMENT OF FACTS
5            Kforce is a professional staffing firm. It matches employer clients with the best-
6    qualified candidates to fill temporary assignments in their businesses. Kforce reviews
7    orders from clients and seeks to find possible candidates to fill the clients’ positions
8    through various sources. Among the sources, Kforce may look at individuals who
9    have submitted their resumes to Kforce for consideration for assignments or
10   individuals who have posted their resumes elsewhere, such as with on-line resources.
11   See Chandler Decl. ¶¶ 2-3; Filicicchia Decl. ¶ 2.
12           If Kforce locates a good prospective candidate, it contacts the candidate to
13   discuss interest and review the candidate’s skills and desired pay rate, among other
14   things. See Chandler Decl. ¶ 2. Candidates who are hired by Kforce for a temporary
15   assignment are sometimes referred to as “consultants” once they are employees. See
16   Filicicchia Decl. ¶ 2.
17           In June 2012, Kforce sought to fill a large number of positions on a quick basis
18   for its client, Title Resource Group (“TRG”). Kforce’s National Recruiting Center
19   (“NRC”) in Tampa, Florida and its Irvine office were involved in identifying possible
20   candidates. See Chandler Decl. ¶¶ 2, 4; Filicicchia Decl. ¶ 3. Lauren Chandler, a
21   recruiter at the NRC at the time, identified Plaintiff as a possible candidate for a
22   position at TRG based on a resume that Plaintiff previously submitted to Kforce on-
23   line. See Chandler Decl. ¶¶ 2, 5. On June 6, 2012, Chandler spoke with Plaintiff
24   regarding the TRG opportunity. Because Plaintiff was interested and Kforce thought
25   she may be a good candidate, Kforce invited her for a screening interview at its Irvine
26   office on June 7, 2012. Plaintiff confirmed that she would attend. See Chandler Decl.
27   ¶ 6, Exh. A; Filicicchia Decl. ¶ 4.
28           At this time, Plaintiff was only an applicant and a candidate for possible
                                           3
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1    assignment with Kforce. Chandler followed her regular practice in speaking with
2    Plaintiff. As with all candidates, Chandler told Plaintiff that there was no guarantee of
3    employment with Kforce or anyone else, but only an opportunity. Chandler said that
4    Kforce would send Plaintiff’s resume to its client to see if TRG was interested, and
5    that Kforce would let Plaintiff know if there was interest. See Chandler Decl. ¶ 7.
6    When contacted about the TRG opportunity, Plaintiff had not ever worked for Kforce,
7    nor had Kforce contacted her before that time.         Plaintiff applied for a different
8    assignment in April 2012, but was not contacted until Chandler called her on June 6,
9    2012 about the TRG opportunity. See Chandler Decl. ¶¶ 8-9, Exh. B, pp. 1-2, ¶ 10.
10         Plaintiff attended the screening interview with Kforce at its Irvine office on
11   Thursday, June 7, 2012.       See Filicicchia Decl. ¶ 4.      After the interview, Jerri
12   Filicicchia, an Account Manager and Talent Director at Kforce’s Irvine office, e-
13   mailed a copy of Plaintiff’s resume to TRG to inquire whether TRG would be
14   interested in interviewing Plaintiff. See id. TRG asked to interview Plaintiff. On the
15   evening of June 7, 2012, Filicicchia e-mailed Plaintiff to schedule an interview at TRG
16   for June 8, 2012. Filicicchia included a copy of TRG’s Employment Application,
17   which Plaintiff needed to complete. See Filicicchia Decl. ¶ 5, Exh. A. Also on the
18   evening of June 7, 2012, Filicicchia e-mailed Plaintiff a job description for the
19   interview the next day at TRG. See Filicicchia Decl. ¶ 6, Exh. B. Plaintiff confirmed
20   that she would attend the TRG interview the following day, submit the application to
21   TRG, and “I will let you know the result tomorrow.” Filicicchia Decl. ¶ 7, Exh. C.
22         In interviewing with TRG and in related activities, Plaintiff was only an
23   applicant who admittedly was “interviewing for employment.” FAC ¶ 33. During
24   Filicicchia’s interactions with Plaintiff, she never told Plaintiff that she would be paid
25   for her interview time. Plaintiff never raised that question to her. See Filicicchia Decl.
26   ¶ 11. In her experience, Filicicchia never had any candidate ask about being paid for
27   any time spent interviewing for any potential assignment. See id.
28         In dealing with Plaintiff, Filicicchia followed her usual practice with respect to
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1    what she explained to Plaintiff. Filicicchia was aware that Plaintiff had not worked on
2    any previous assignment for Kforce.        Following her regular practice, Filicicchia
3    informed Plaintiff that she would become a Kforce employee only if Kforce found a
4    suitable assignment and TRG hired her. Filicicchia also informed Plaintiff that, just
5    because Plaintiff interviewed with a Kforce client, the interview did not mean that she
6    would be hired by anyone. See Filicicchia Decl. ¶¶ 12-13.
7          After the TRG interview on Friday, June 8, 2012, TRG decided to hire Plaintiff
8    for an assignment starting on Monday, June 11, 2012. Filicicchia asked Plaintiff to
9    confirm and also to come into the office that afternoon “to do your paperwork so we
10   can get you ready to go for payroll.” Filicicchia Decl. ¶ 8, Exh. D. Whenever Kforce
11   hired a new consultant, such as Plaintiff, it needed the individual to complete a variety
12   of paperwork for Kforce to establish the new employee and for payroll purposes. See
13   Filicicchia Decl. ¶¶ 8, 12. On June 8, 2012, in preparation for Plaintiff’s placement at
14   TRG and for her new hire and onboarding paperwork, Filicicchia prepared a Placement
15   Form, or Start Sheet. She sent it to the Kforce employees who handled new hire and
16   onboarding paperwork. See Filicicchia Decl. ¶ 9, Exh. E. Plaintiff confirmed to
17   Filicicchia that she would come into the office on the afternoon of June 8, 2012 to
18   complete her new hire and onboarding paperwork. See Filicicchia Decl. ¶ 10.
19         With respect to onboarding new consultants, Kforce’s standard practice has been
20   to prepare new hire and onboarding paperwork only after an individual has been
21   offered a position with a client, the individual has accepted the offer, and Kforce’s
22   Service Coordinator has received a Start Sheet with information about the individual
23   and the assignment. See Rodriguez Decl. ¶ 3. On June 8, 2012, after Filicicchia
24   submitted the Start Sheet for Plaintiff, Service Coordinator Cynthia Rodriguez
25   prepared new hire and onboarding paperwork for Plaintiff’s assignment with TRG
26   starting on June 11, 2012. See Rodriguez Decl. ¶¶ 4-5; Torres Decl. ¶¶ 3-5, Exh. A.
27         Plaintiff came to the Irvine office on the afternoon of June 8, 2012, where she
28   reviewed and signed new hire and onboarding documents for Kforce. Among the
                                        5
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1    documents that afternoon, Plaintiff completed and signed a Kforce Employment
2    Application, Kforce’s Background & Credit Check Authorization & Release Form, an
3    Employee Agreement, a Kforce Pre-Employment Drug Screen Consent and Release
4    Form, Kforce’s Confidential Information Agreement, an Acknowledgement of
5    Kforce’s Employment Policies, an Acknowledgement of Kforce’s 2012 Hourly
6    Consultant Benefit Fact Sheet, and a Kforce Consultant Emergency Contact Sheet.
7    See Rodriguez Decl. ¶¶ 6-18, Exhs. A-K; Torres Decl. ¶¶ 6-8. Kforce’s regular
8    practice is to add a new consultant, such as Plaintiff, to its payroll after receiving the
9    signed new hire and onboarding paperwork. See Rodriguez Decl. ¶ 6.
10         Plaintiff started her assignment at TRG on Monday, June 11, 2012.               See
11   Chandler Decl. ¶¶ 8-9, Exh. B, p. 1, ¶ 11. Since that assignment ended in October
12   2012, Plaintiff has not had another interview and has not worked on another
13   assignment through Kforce. See id.
14         Kforce paid Plaintiff the wages for the last week of her TRG assignment by a
15   TotalPay Card with Money Network checks. Plaintiff’s net pay for that week was
16   $310.86. See FAC ¶¶ 58, 69, 71; Rodriguez Decl. ¶ 19; Specht Decl. ¶¶ 2-7, Exhs. A-
17   B, ¶ 16. In providing this payment to Plaintiff, Kforce gave her a sheet with details
18   concerning this wage payment, including reflecting “net pay” of $310.86.              See
19   Rodriguez Decl. ¶¶ 20-21, Exh. L. Subsequently, Kforce sent Plaintiff a further
20   document with additional information, reflecting that the net pay had been deposited
21   onto a paycard. See FAC, Exh. B; Specht Decl. ¶ 7, Exh. B, ¶¶ 16-17.
22         When making a wage payment with a TotalPay Card, Kforce’s regular practice
23   has been to provide Money Network checks, along with information about the card and
24   checks, instructions for use and activation, a schedule of fees, and instructions on how
25   to use Money Network checks to withdraw the entire amount for free. See Rodriguez
26   Decl. ¶ 19; Specht Decl. ¶¶ 8-13, Exhs. C-G. Kforce sent all of this information to
27   Plaintiff with her payment. See Rodriguez Decl. ¶ 19. By using a Money Network
28   check, an employee may write a check for the entire balance of the paycard, and
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1    withdraw it on demand and without any fee. See Specht Decl. ¶ 10, Exh. D, pp. 4, 8,
2    ¶¶ 12-13, Exh. G. The Money Network checks provided specifically instruct that they
3    are “Payable without discount or fee at any California Walmart location,” including
4    withdrawal of the entire amount. See Specht Decl. ¶ 13, Exh. G.
5           Employees working on temporary assignments in California received itemized
6    wage payment statements prepared and issued by ADP, Kforce’s vendor, rather than
7    by Kforce. ADP made those pay statements available electronically on the iPay
8    system. See Specht Decl. ¶ 14. Among other things, Plaintiff’s wage statements
9    showed her employee identification number. See FAC, Exh. B; Specht Decl. ¶ 15.
10   V.     LEGAL ARGUMENT
11          A.    Legal Standard on Motion for Summary Judgment.
12          A party is entitled to summary judgment “if the pleadings, the discovery and
13   disclosure materials on file, and any affidavits show that there is no genuine issue as to
14   any material fact and that the movant is entitled to judgment as a matter of law.” Fed.
15   R. Civ. P. 56(c). See also Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). The
16   Court may grant summary judgment on “each claim or defense – or the part of each
17   claim or defense – on which summary judgment is sought.” Fed. R. Civ. P. 56(a).
18          Rule 56(a) requires granting summary judgment if the moving party “shows that
19   there is no genuine dispute as to any material fact.” Material facts are those facts
20   necessary to establish the elements of a party’s cause of action. Anderson v. Liberty
21   Lobby, Inc., 477 U.S. 242, 248 (1986). A fact is “material” when its resolution would
22   affect the outcome of the suit, looking at the substantive law.         Id.   If the court
23   determines that there is no genuine issue as to any material fact and Kforce is entitled
24   to judgment, then summary judgment is mandatory. Celotex, supra, 477 U.S. at 322.
25          “Summary judgment procedure is properly regarded not as a disfavored
26   procedural shortcut, but rather as an integral part of the Federal Rules as a whole. . . .”
27   Id. at 327. It is the principal tool by which factually insufficient claims can be
28   “isolated and prevented from going to trial with the attendant unwarranted
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1    consumption of public and private resources.” Id.
2          B.      Plaintiff Cannot Establish Her First Cause of Action Because She
                   Was Not An “Employee” When She Interviewed At TRG.
3

4          In her First Cause of Action, Plaintiff sues for payment of minimum wage under
5    section 1194.      She claims that she should have been paid for her time spent
6    interviewing with TRG on June 8, 2012. See FAC ¶¶ 35, 48. Plaintiff cannot establish
7    this claim.     Not only does she concede that she was only “interviewing for
8    employment” at the time (FAC ¶ 33), Plaintiff was not an “employee” of Kforce then.
9    Rather, she was only an applicant or prospective employee, who thus cannot have been
10   due any wages for that time.
11                 1.    Only An “Employee,” Not An Applicant, Is Due Wages.
12         No case arising under California law holds what Plaintiff seeks here – that an
13   individual who has not yet been hired by any party, including a staffing agency, or
14   worked any assignment, nevertheless must be paid for time spent interviewing for an
15   initial job opportunity. Such a notion is preposterous. After all, as a basic requisite
16   under the law and common sense, the obligation to pay wages first requires an
17   employer-employee relationship. An applicant or interviewee generally would not
18   qualify. Indeed, one case recognized that a staffing firm employee’s “employment
19   relationship” did not begin until the “first day of her first temporary assignment” with
20   one of the firm’s clients. Sullivan v. Kelly Services, Inc., 2009 U.S. Dist. LEXIS
21   96544, at *3 (N.D. Cal. Oct. 16, 2009).
22         Section 1194, on which Plaintiff sues, authorizes only an “employee” to bring an
23   action for minimum wage. It provides that “any employee receiving less than the legal
24   minimum wage or the legal overtime compensation applicable to the employee is
25   entitled to recover in a civil action the unpaid balance of the full amount of this
26   minimum wage or overtime compensation. . . .” § 1194(a)(emphasis added). As the
27   law’s plain language establishes, the obligation to pay minimum wage arises only
28   between parties who are employer and employee at the time. Stating the obvious about
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1    section 1194, the California Supreme Court recognized: “That only an employer can be
2    liable, however, seems logically inevitable as no generally applicable rule of law
3    imposes on anyone other than an employer a duty to pay wages.” Martinez v. Combs,
4    49 Cal.4th 35, 49 (2010).
5          Like with section 1194, and as recognized in Martinez, California wage and
6    hour laws generally protect an “employee,” not an “applicant.” When California wage
7    and hour law protects an “applicant” as well, it has said so expressly. See, e.g., §
8    98.6(a)(no discrimination against “employee or applicant for employment because the
9    employee or applicant” engaged in protected activity); § 1051 (protecting “employee
10   or applicant” fingerprints and photographs)(emphasis added).
11         The use of “employee” and exclusion of “applicant” in applicable statutes and
12   regulations is significant. The words of a statute “generally provide the most reliable
13   indicator of legislative intent.” Hsu v. Abbara, 9 Cal.4th 863, 871 (1995). A court
14   may reasonably conclude that the use of different language in a provision means that
15   the Legislature or rulemaking body intended a different meaning. Singh v. Superior
16   Court, 140 Cal.App.4th 387, 399 (2006). “When the Legislature has used a term or
17   phrase in one part of a statute but excluded it from another, courts do not imply the
18   missing term or phrase in the part of that statute from which the Legislature has
19   excluded it.” People v. Gardeley, 14 Cal.4th 605, 621-622 (1996). Consequently, the
20   exclusion of “applicant” from section 1194 – while using that term in other provisions
21   – demonstrates the intent that applicants do not have to be paid minimum wage.
22         Bearing these considerations in mind, California authority has held that an
23   applicant or prospective employee is not eligible for wages or other benefits that
24   otherwise would flow from an employment relationship. The Labor Commissioner has
25   rejected Plaintiff’s claim that interview and pre-employment time is controlled and
26   thus must be compensated. Contrary to Plaintiff’s claim, the Labor Commissioner
27   takes the view that such time generally is not compensable. That agency holds that
28   “try out time,” such as testing a prospective employee or having prospective employee
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1    demonstrate skills in what would be an interview or essentially an interview, generally
2    is non-compensable. See Req. for Jud. Notice, Exh. 1, DLSE Enforcement Policies
3    and Interpretations Manual (“DLSE Manual”) (2002), § 46.7, p. 46-5.2 This time is
4    not compensable as long as it involves testing and not training, there is no productive
5    work performed, and the length of time is reasonable. See id. This logic excludes
6    interview time, which most often involves only an interview and not even any testing
7    or “try out time” – and is when an individual only would be a prospective employee.
8          Similarly, California courts have held that an applicant or prospective employee
9    injured in pre-employment activities is not entitled to worker’s compensation benefits
10   because he or she is not an “employee” then. See, e.g., State Compensation Ins. Fund
11   v. Workers’ Compensation Appeals Board, 59 Cal.App.3d 647 (1976)(individual who
12   worked on daily basis, and required to report each day to apply, not an employee);
13   Sumner v. Edmunds, 130 Cal.App. 770, 777-778 (1933)(“A mere offer of services not
14   yet accepted by the prospective employer is not sufficient to make the offeree an
15   employee.”); Calif. Highway Commission v. Industrial Accident Commission, 40
16   Cal.App. 465, 467-468 (1919)(potential employer who directed individual to report to
17   location for possible work was “identical with that of an employment office in finding
18   work for those seeking employment,” with no employment relationship formed until
19   reported and “acceptance of his proffered service”). The reason is intuitive: For an
20   injury to happen in employment, “there obviously must be a subsisting employment.”
21   State Compensation Ins. Fund, supra, 59 Cal.App.3d at 652. Just as obviously, a
22

23   2
       While the DLSE Manual is not binding, its provisions “may be considered for their
24   persuasive value.” Alonzo v. Maximus, Inc., 832 F.Supp.2d 1122, 1127 n. 3 (C.D. Cal.
     2011). The DLSE, or Labor Commissioner, is authorized to enforce the IWC’s wage
25
     orders. Cal. Labor Code §§ 61, 1193.5; Alcala v. Western Ag Enterprises, 182
26   Cal.App.3d 546, 551 (1986)(DLSE “is the agency charged with interpreting the intent
     of the IWC. Its interpretation is entitled to great weight under established principles of
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     statutory construction, unless it is clearly unreasonable, it will be upheld.”)
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1    prospective employee is not in that position. “Almost as a matter of definition, a job
2    applicant or seeker of employment is not an employee.” Id. at 654.
3             This basic logic cannot be ignored. The law only protects an “employee” in this
4    and similar instances, as discussed. Plaintiff’s claim skips a fundamental point in
5    claiming that she was an “employee” of Kforce at the time of her TRG interview,
6    when it was an interview for an initial assignment with no prior relationship. On the
7    facts and the law, as well as applying common sense, she was not an “employee.”
8             2.      Plaintiff Was Not An “Employee” While Interviewing.
9             As discussed, section 1194 only covers an “employee.” Actions under this
10   section may involve looking at the definitions in the Industrial Welfare Commission
11   (“IWC”) wage orders, which “generally define the employment relationship, and thus
12   who may be liable” on a minimum wage claim. Martinez, supra, 49 Cal.4th at 52.
13   Even under this analysis, Plaintiff was not an “employee” and cannot recover.
14            At the outset, Kforce notes that Martinez involved a much different situation and
15   issue.        While Plaintiff’s claim concerns the most basic question of whether an
16   employment relationship existed at all with anyone, the plaintiffs in Martinez
17   unquestionably already had a direct employer. That issue was not addressed there.
18   Instead, the main issue in Martinez was joint employment, specifically whether parties
19   who contracted with the direct employer could be considered joint employers. Id. at
20   42-43, 48, 50. In this respect, Martinez may be more directed at whether a joint
21   employment relationship existed, rather than an employment relationship in the first
22   instance, as is the issue here.
23            IWC Wage Order No. 4 (Professional, Technical, Clerical, Mechanical, and
24   Similar Occupations) applies to Kforce and Plaintiff’s eventual work at TRG. It also
25   requires an employment relationship as a requisite.            The wage order defines
26   “Employee” as “any person employed by an employer.” Cal. Code Regs., tit. 8, §
27   11040(2)(F).        “‘Employ’ means to engage, suffer, or permit to work,” while
28   “‘Employer’ means any person as defined in Section 18 of the Labor Code, who
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1    directly or indirectly, or through an agent or any other person, employs or exercises
2    control over the wages, hours, and working conditions of any person.”         Cal. Code
3    Regs., tit. 8, § 11040(2)(E), (H).3 The wage orders are subject to the normal rules of
4    statutory interpretation. Bearden v. U.S. Borax, Inc., 138 Cal.App.4th 429, 435 (2006).
5          Applying these definitions, the test for “employ” under Martinez – or at least for
6    a joint employment relationship – is whether a putative employer: (1) exercised control
7    over wages, hours, or working conditions, (2) suffered or permitted an individual to
8    work, or (3) engaged an individual, “thereby creating a common law employment
9    relationship.” Martinez, supra, 49 Cal.4th at 64. Significantly, as the California
10   Supreme Court also made clear, the mere possibility of a “downstream benefit” to a
11   party is insufficient. Id. at 70 (“the concept of a downstream benefit as a sufficient
12   basis for liability appears nowhere in the wage order’s definition of ‘employ’”).
13         Under any of these three bases, Plaintiff was not an “employee” of Kforce when
14   she interviewed for the TRG assignment.           Again, Plaintiff’s whole argument
15   essentially presupposes an employment relationship already existed, when there is no
16   evidence that she and Kforce formed such a relationship until after Plaintiff
17   interviewed and accepted the TRG assignment. Again, too, Plaintiff concedes as
18   much, acknowledging that her TRG interview was merely “interviewing for
19   employment.”     FAC ¶ 33.      In other words, she admittedly was not already an
20   employee. That concession should be the end of the story.
21         The fundamental question is when Plaintiff actually formed an employment
22   relationship with Kforce. The facts negate any claim of an employment relationship at
23   the time of the TRG interview, under any of the Martinez tests. As discussed, the
24   beginning of the employment relationship was not until after the TRG interview and
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       Under section 18, “person” simply means “any person, association, organization,
27
     partnership, business trust, limited liability corporation, or corporation.”
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1    Plaintiff started work for TRG.     Until then, Plaintiff was only an applicant and
2    prospective employee. She never had performed an assignment for Kforce or even
3    was interviewed previously. Kforce contacted Plaintiff to inquire about her interest in
4    an assignment with TRG.          In keeping with Kforce’s regular practice, two
5    representatives who worked with Plaintiff made clear that there was no guarantee of
6    employment whatsoever. Kforce’s regular practice, which it followed in Plaintiff’s
7    case, was not to prepare new hire or onboarding paperwork until after an individual
8    had an assignment offered and accepted. Most importantly, Plaintiff was not presented
9    with any new hire and onboarding paperwork – nor did she sign any paperwork – until
10   after her interview, after she received an offer for a TRG assignment, and after she
11   accepted that offer.   That paperwork included an Employee Agreement and an
12   Employee Work Assignment for TRG. Plaintiff started working on her assignment on
13   June 11, 2012, performing no work before that point but rather only “interviewing for
14   employment.” FAC ¶ 33. Only at that point when Plaintiff started work on the TRG
15   assignment, on June 11, 2012, was Plaintiff an “employee” under any definition.
16         Against this backdrop, the three Martinez tests do not support Plaintiff. First,
17   Kforce did not control Plaintiff’s wages, hours, or working conditions during her TRG
18   interview. A prospective employee’s interview for initial employment, as here, is not
19   something that even involves having to set wages or working conditions for that time.
20   It is not work, as the Labor Commissioner recognizes. See DLSE Manual, § 46.7, p.
21   46-5. The fact that Kforce scheduled an agreeable time for the interview also did not
22   establish an employment relationship. By necessity, a prospective employer must
23   schedule a time to interview a prospective employee and doing so alone does not
24   create an employment relationship. Otherwise, every prospective employer would
25   have to pay every prospective employee for an interview, unless it allows the candidate
26   to attend whenever she chooses – which would be absurd and unrealistic.
27         Second, Plaintiff was not suffered or permitted to work by Kforce during her
28   TRG interview. Again, the time was only an interview of a prospective employee for
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1    an initial assignment, with no previous relationship. There is no claim or evidence that
2    Plaintiff did anything other than be interviewed, which she claims lasted an hour. She
3    did not perform any productive work for anyone. As with “try out time,” this time by a
4    prospective employee is not compensable. See DLSE Manual, § 46.7, p. 46-5.
5          Third, Plaintiff and Kforce did not form a common law relationship before or at
6    the time of the TRG interview. This test looks at several possible factors, some of
7    which cannot apply here (e.g., the skill required and whether the alleged employer
8    supplied tools, instruments, and a place of work) because the alleged activity involved
9    only interviewing, not any productive work      See Futrell v. Payday California, Inc.,
10   190 Cal.App.4th 1419, 1434 (2010). The factors also assume that an individual
11   performed “work.” Id. As discussed above, under the facts here and in accord with
12   the Labor Commissioner’s view, the mere interview of a prospective employee does
13   not constitute work or compensable time. See DLSE Manual, § 46.7, p. 46-5. Any
14   argument by Plaintiff here collapses under the critical factor of “whether the parties
15   believe they are creating an employer-employee relationship.” Id. Here, because
16   Plaintiff knew there was no guarantee of employment and, even more importantly, she
17   did not sign any agreement or other paperwork with Kforce until after her TRG
18   interview, the parties cannot have formed a common law employment relationship at
19   the time of the TRG interview.         No reasonable person would understand an
20   employment relationship to have formed simply with an interview, before any offer or
21   acceptance, and before any new hire paperwork.
22         In sum, Plaintiff was only a prospective employee interviewing for an initial
23   assignment with Kforce when she interviewed with TRG. She was not an employee of
24   Kforce at that time under any definition. At most, the TRG interview only presented a
25   potential and insufficient “downstream benefit” to Plaintiff and Kforce, assuming that
26   TRG decided to hire Plaintiff for an assignment and that she only then could become a
27   Kforce employee.     Martinez, supra, 49 Cal.4th at 70.       Plaintiff’s claim that all
28   interview time must be paid – regardless of any other consideration – is illogical and
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1    disregards any legal or commonsense concept of an employment relationship. Quite
2    literally, Plaintiff’s position would lead not only staffing firms, but rather every
3    prospective employer, to have to pay every individual for any interview for an initial
4    assignment or job – regardless of the lack of any prior relationship.           Such an
5    interpretation of the law and wage order would lead to an absurd result, which must be
6    avoided.    MacIssac v. Waste Management Collection & Recycling, Inc., 134
7    Cal.App.4th 1076, 1083 (2005).
8          Finally, Kforce expects Plaintiff to rely on Sullivan v. Kelly Services, Inc. No
9    court has cited that decision. It does not help Plaintiff here. Under the circumstances
10   in that case, Sullivan concluded only that a staffing firm had to pay for interview time
11   for interviews for a new assignment after the end of an initial assignment. Sullivan v.
12   Kelly Services, Inc., 2009 U.S. Dist. LEXIS 96544, at *3 (N.D. Cal. Oct. 16, 2009).
13   This result stemmed from a previous decision based on the successful argument by the
14   employer, in a previous decision treated as res judicata, that an individual on the facts
15   there remained employed by the staffing firm after the end of an assignment. Thus, the
16   subsequent interviews in Sullivan were as an “employee.” Id. at *16-*17. Plaintiff’s
17   situation is much different. She only had an initial interview, when she was not yet an
18   “employee,” and never had any subsequent interview. Nothing in Sullivan held that
19   such initial interview time must be paid.       To the contrary, Sullivan treated the
20   employment relationship as not having started until the first assignment began. Id. at
21   *3. Accordingly, because Plaintiff was not an “employee” when she interviewed with
22   TRG, she cannot establish her First Cause of Action.4
23

24   4
       In addition to section 1194, Plaintiff her minimum wage claim on sections 1194.2,
25   1197, and 1197.1. The result is the same under those sections, because they each
     involve the minimum wage. Sections 1197 and 1197.1 prohibit payment of less than
26   the minimum wage and authorize a civil action, respectively. Section 1194.2
27   authorizes recovery of liquidated damages, but any potential recovery depends on
     establishing a claim under section 1194. Martinez v. Combs, 49 Cal.4th 35, 49 (2010).
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1            C.     Plaintiff’s Cannot Recover On Claims In Her Second Cause Of
                    Action Concerning Itemized Wage Statements.
2

3            Plaintiff cannot establish the claims alleged in her Second Cause of Action
4    itemized wage statement penalties under section 226.
5            First, Plaintiff alleges that Kforce did not provide an accurate wage statement
6    because it did not include pay for the TRG interview. FAC ¶¶ 54, 56-57. Because
7    Plaintiff was not due any wages, there cannot have been any accompanying wage
8    statement violation. Plaintiff also cannot recover any penalty if an error did not result
9    from “knowing and intentional” failure. § 226(e)(1).5 On this issue, because Kforce
10   did not believe that the interview time was compensable and no case had so held, there
11   cannot have been any knowing and intentional failure. Sullivan, supra, 2009 U.S. Dist.
12   LEXIS, at *19 (N.D. Cal. Oct. 16, 2009).
13           Second, Plaintiff alleges that her wage statement did accurately list her year-to-
14   date pay. See FAC ¶ 58. The statute does not require year-to-date information. See §
15   226(a). Third, Plaintiff complains that her pay statements did not list TRG, provide the
16   rate of pay and hours for each temporary assignment, or separate wages by each
17   temporary assignment. See FAC ¶¶ 61-62. Nothing requires listing TRG’s name and
18   address. See § 226(a). Moreover, these new requirements that apply to temporary
19   services employers were not effective until July 1, 2013 – after Plaintiff stopped
20   working in October 2012. See § 226(a)(9). Plus, as Plaintiff only had one temporary
21   assignment with Kforce, no separating by assignment would have been possible.
22   Fourth, Plaintiff incorrectly claims that her wage statements lacked an employee
23   identification number. As discussed, they had Plaintiff’s Kforce employee number,
24   complying with the law.
25           Finally, Plaintiff incorrectly claims that Kforce did not provide a document
26

27   5
         Kforce asserted this defense in its Answer. See Dkt. No. 1, Exh. J, Answer, pp. 2-3.
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1    accurately showing the $310.86 in net pay she earned in the final week of her
2    assignment at TRG. See FAC ¶¶ 57-58. As discussed, Kforce provided Plaintiff with
3    statements showing the correct amount of “net pay” and indicating that Kforce paid it
4    through a paycard. In addition, Plaintiff cannot demonstrate any injury on this issue,
5    as required for any recovery. Elliott v. Spherion Pacific Work, LLC, 572 F.Supp.2d
6    1169, 1181 (C.D. Cal. 2008). As the FAC demonstrates, Plaintiff admittedly knew the
7    amount of her net pay, thus experiencing no confusion or injury. See FAC ¶ 58.
8          Accordingly, because these claims fail in the Second Cause of Action, they
9    should be dismissed.
10         D.     Plaintiff’s Third Cause of Action Fails.
11         In her Third Cause of Action, Plaintiff alleges an “unlawful payroll scheme.”
12   FAC ¶¶ 76-77, 79. Plaintiff concedes that the “exact nature” of her claim “is unclear at
13   this point.” FAC ¶ 78. Essentially, Plaintiff first complains that Kforce paying the
14   final wages on her TRG assignment by debit card allegedly violated sections 212 and
15   213. FAC ¶¶ 69-73. Reflecting the speculative nature of this claim, Plaintiff can only
16   allege that she “is informed and believes that she incurred fees while attempting to
17   access her money.” FAC ¶ 71. The second part of the alleged scheme is Plaintiff’s
18   allegation that Kforce violated sections 221 and 223, by somehow “deducting” her net
19   pay and depositing it onto a debit pay card. FAC ¶¶ 74-80. These claims fail.
20                1.    Plaintiff Lacks a Private Right of Action.
21         Plaintiff lacks a private right of action to sue directly under these statutes. “A
22   violation of a state statute does not necessarily give rise to a private right of action.”
23   Lu v. Hawaiian Gardens Casino, Inc., 50 Cal.4th 592, 596 (2010). A private action
24   exists only if the statute in “clear, understandable, unmistakable terms” shows an intent
25   to create such a right. Moradi-Shalal v. Fireman’s Fund Ins. Companies, 46 Cal.3d
26   287, 295 (1988). Among such clear indications, the law may expressly state that a
27   person has or is liable for a cause of action for a violation, or “more commonly, a
28   statute may refer to a remedy or means of enforcing its substantive provisions, i.e., by
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1    way of an action.” Lu, supra, 50 Cal.4th at 597. If the Legislature “expressed no
2    intent on the matter either way, directly or impliedly, there is no private right of
3    action.” Animal Legal Defense Fund v. Mendes, 160 Cal.App.4th 136, 142 (2008).
4          For example, in Lu, the California Supreme Court most recently held that,
5    although section 351 declared a gratuity “to be the sole property of the employees or
6    employees to whom it is paid,” this language “does not unmistakably” establish a
7    private right to sue. Lu, supra, 50 Cal.4th at 598. There, the statute “does not
8    expressly state that there is a cause of action for any violation; nor does it refer to an
9    employee’s right to bring an action to recover any misappropriated gratuities.” Id.
10   Rather, related provisions create a misdemeanor offense for a violation and gave the
11   Department of Industrial Relations authority to enforce “this article” of the Labor
12   Code. Id. This enforcement scheme displaces a private right of action.
13         This latter point is very significant. “[T]he fact that the legislature expressly
14   included a right of action on the part of the [Labor Commissioner] implies that the
15   legislature intended to exclude a private right of action.” Bureerong v. Uvawas, 922
16   F.Supp. 1450, 1475 (C.D. Cal. 1996). In Bureerong, the court held that no private
17   right of action existed when the statutes at issue provided for administrative
18   enforcement by the Labor Commissioner.            That arrangement showed that the
19   Legislature intended “agency enforcement, not private litigation.” Id.
20         Similarly, the statutes on which Plaintiff attempts to sue do not provide for a
21   private right of action. First, there is no private right of action under Sections 212 and
22   213. They are companion statutes. Section 212 addresses prohibited form of wage
23   payments. It is “a measure essentially intended to prevent employers from giving
24   employees paychecks that cannot be cashed.”            Brown v. Superior Court, 199
25   Cal.App.4th 971, 977 (2011). In addition, “The accepted purpose of Labor Code
26   section 212 is to prevent employers from paying wages by giving orders payable only
27   in goods, or orders of an indefinite nature not payable on demand, but at some future
28   time, or paychecks which cannot be honored because of the drawee’s insufficient
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1    funds.” Brown v. Superior Court, 199 Cal.App.4th 971, 997 (2011)(internal citations
2    and quotations omitted). Section 213, in turn, provides “Exceptions” to section 212.
3          Nothing in either section provides for a private right of action, imposes any
4    liability or remedy, or refers to any enforcement means. The lack of these provisions
5    demonstrates the lack of a private right of action. Lu, supra, 50 Cal.4th at 597.
6    Tellingly, the statutes also do not create any “entitlement to wages or specific
7    penalties” due an employee directly – another hallmark of the lack of a private right of
8    action. Johnson v. Hewlett-Packard Co., 809 F. Supp.2d 1114, 1136 (N.D. Cal. 2011).
9    Thus, sections 212 and 213 do not provide a private right of action.
10         A closer look at the statutory scheme confirms that there is no private right of
11   action. As discussed, the inclusion of criminal provisions or providing for an agency’s
12   enforcement in lieu of a private action also demonstrates the lack of a private right of
13   action. Bureerong, supra, 922 F.Supp. at 1475; Lu, supra, 50 Cal.4th at 598. Sections
14   212 and 213 are part of a scheme with both attributes. Sections 214 through 216
15   establish a misdemeanor for the violation of section 212 and provide for criminal
16   prosecution. Indeed, in the 75 years, the three reported decisions on section 212 were
17   “within the context of criminal prosecutions.” Brown, supra, 199 Cal.App.4th at 997.
18         Section 217 provides that the Division of Labor Standards Enforcement
19   (“DLSE”) “shall inquire diligently for any violations of this article, and, in cases where
20   it deems proper, shall institute actions for the penalties provided for in this article and
21   shall enforce this article.” (Emphasis added.)6 Section 225.5 imposes a civil penalty
22   for violation of section 212.       That penalty “shall be recovered by the Labor
23   Commissioner,” and any action “shall be brought in the name of the people of the State
24   of California and the Labor Commissioner and attorneys thereof may proceed and act
25   for and on behalf of the people in bringing the action.” § 225.5(b). The law thus
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     6
27     “[T]his article” refers to Article 1 of Division 2 of the Labor Code, consisting of
     sections 200 through 243.
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1    expressly provides for either criminal or agency enforcement in lieu of a private action.
2    Consequently, Plaintiff has no private right of action under sections 212 and 213.
3          Next, Plaintiff also lacks a private right of action under sections 221 and 223.
4    One court specifically held that section 223 affords no private action: “The text of
5    section 223 does not support the existence of a private right of action.” Johnson,
6    supra, 89 F.Supp.2d at 1136. Section 221 also does not provide for a private action.
7    Similar to Section 223’s mere declaration that an employee may not “secretly pay a
8    lower wage while purporting to pay the wage designated by statute or by contract,”
9    section 221 merely declares that an employer cannot “collect or receive from an
10   employee any part of wage” paid to an employee as a rebate. Again, nothing in these
11   sections creates a private action, provides for payment of wages or penalties directly to
12   an employee, or provides for a means of enforcement by an individual. The lack of
13   these features demonstrates that there is no private right of action. Johnson, supra, 809
14   F.Supp.2d at 1136; Lu, supra, 50 Cal.4th at 597.
15         Again, too, sections 221 and 223 are part of the same scheme as sections 212
16   and 213, providing for criminal or agency enforcement rather than a private right of
17   action. Section 225 creates a misdemeanor offense for violation of sections 221 and
18   223. In turn, section 217 again provides that the DLSE “shall institute the actions for
19   the penalties . . . and shall enforce this article,” of which sections 221 and 223 are a
20   part. Section 225.5 again further provides for penalties for violations of sections 221
21   and 223, which “shall be recovered by the Labor Commissioner” and any action “shall
22   be brought” by the Labor Commissioner. Again, here, the law provides for criminal or
23   agency enforcement rather than a private right of action.
24         Accordingly, Plaintiff lacks a private right of action under each of these
25   sections. Her Third Cause of Action should be dismissed on that basis.
26                2.    Plaintiff’s Claims Fail in Any Event.
27         Although the lack of private right of action dooms Plaintiff’s Third Cause of
28   Action, she cannot recover anyway.
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1          First, Plaintiff complains (but is not necessarily sure) that she “is informed and
2    believes that she incurred fees while attempting to access her money.” FAC ¶ 71. The
3    decisive issue is not whether Plaintiff incurred fees, but rather she had an option for
4    withdrawing all of her money on demand without a fee. § 212(a)(1)(instrument must
5    be “negotiable, in cash, on demand, without discount, at some established place of
6    business in the state”). As long as she did, there was no violation of the law. Holak v.
7    Kmart Corp., 2012 U.S. Dist. LEXIS 176331, at *16-*20 (E.D. Cal. Dec. 12, 2012).
8    Here, as discussed, Plaintiff had the option through the Money Network checks of
9    withdrawing all of her money at once, without any fee, at numerous Walmart stores in
10   California.7 She thus has no claim at all under section 212 and 213.
11         Second, there was no rebate or secret underpayment of wages in violation of
12   sections 221 or 223, or even any rebate or underpayment at all. To the contrary, as
13   discussed, the $310.86 due Plaintiff as net pay for the final week of her assignment
14   was, in fact, provided to Plaintiff through the paycard with Money Network checks.
15   Kforce did not collect any of that amount. In addition, section 223 prohibits employers
16   from keeping any underpayment secret from enforcement authorities – “not from the
17   employees themselves, who presumably are well aware of what they are paid.”
18   Brown, supra, 199 Cal.App.4th at 991. Here, Plaintiff undisputedly knew what she
19   was paid and there was no underpayment. Even more, there was nothing “secret” at
20   all. Id. Accordingly, these claims fail in any event.
21         E.     The Punitive Damages Claim Is Barred As A Matter Of Law.
22         In addition to failing to state a plausible claim in her Third Cause of Action,
23   Plaintiff’s claim for punitive damages there must be dismissed. A court may grant
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25   7
       The Labor Commissioner also issued an opinion letter validating payment of wages
26   by paycards, with Money Network checks, as long as the method permits at least one
     transaction per pay period without fee. See Req. for Jud. Notice, Exh. B, DLSE
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     Opinion Letter 2008.07.07-2, dated July 7, 2008, p. 5.
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1    summary judgment on a punitive damages claim alone. Reid v. Smithkline Beecham
2    Corp., 366 F.Supp.2d 989, 1000-1002 (S.D. Cal. 2005). Plaintiff’s Third Cause of
3    Action seeks punitive damages for alleged violation of sections 212, 213, 221, and
4    223. FAC ¶ 81. For two reasons, Plaintiff cannot recover punitive damages.
5          First, as a matter of law, California bars recovery of punitive damages for
6    alleged wage and hour violations of the Labor Code. See Brewer v. Premier Golf
7    Properties, LP, 168 Cal.App.4th 1243, 1251-1256 (2008). The Labor Code’s wage
8    and hour requirements are “statutory obligations imposed only when the parties have
9    entered into an employment contract and are obligations arising from the employment
10   contract. The breach of an obligation arising out of an employment contract, even
11   when the obligation is implied in law, permits contractual damages but does not
12   support tort recoveries.” Id. at 1256. Thus, these “Labor Code violations . . . do not
13   support punitive damages” under California law. Id. See also Madrigal v. Tommy
14   Bahama Group, Inc., 2010 U.S. Dist. LEXIS 121573, *19-*22 (C.D. Cal. Oct. 18,
15   2010)(dismissing punitive damages claims because “Plaintiffs cannot recover punitive
16   damages based on their wage and hour claims.”).
17         Second, Plaintiff fails even to allege that “an officer, director, or managing agent
18   of the corporation” committed the alleged violations. This point is an element of
19   punitive damages under California law. See Cal. Civ. Code § 3294(b); White v.
20   Ultramar Inc., 21 Cal.4th 563, 566-567 (1999). However, the FAC is devoid of any
21   such essential allegation. FAC ¶ 81. Because of Plaintiff’s failure to even plead this
22   element or any supporting facts, her claim for punitive damages fails as well. Bieber v.
23   State Bank of Terry, 928 F.2d 328, 330 (9th Cir. 1991). Accordingly, for both reasons,
24   Plaintiff’s punitive damages claim must be dismissed.
25         F.    Plaintiff Cannot Recover Waiting Time Penalties.
26         Plaintiff also cannot recover section 203 waiting time penalties under her Fourth
27   Cause of Action. She alleges that Kforce discharged her when she finished her TRG
28   assignment and has not paid her all wages due from her employment with Kforce.
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1    Plaintiff claims that she was not paid her wages for interview time or wages allegedly
2    still due for the final week of her assignment with TRG. FAC ¶¶ 88-89. Plaintiff is
3    not due waiting time penalties under either basis.
4          Section 203 imposes a waiting time penalty if an employer “willfully fails to pay
5    . . . any wages of an employee who is discharged or quits.”8 These penalties are not
6    automatic. Rather, a failure to pay wages timely to a former employee must be willful.
7    It is not willful – and thus not subject to penalties – if an amount is the subject of “a
8    good faith dispute that any wages are due.” Cal. Code Regs., tit. 8, § 13520. See also
9    Amaral v. Cintas Corp. No. 2, 163 Cal.App.4th 1157, 1200-1204 (2008)(declining to
10   impose waiting time penalties because of good faith dispute based on unsettled law).
11         Plaintiff cannot recover waiting time penalties with respect to her claimed
12   interview pay for two reasons. First, as discussed, Plaintiff is not due any interview
13   pay. Obviously, without any unpaid wages, there cannot have been a failure to pay
14   and, thus, waiting time penalties cannot be due.
15         In addition, any interview pay due is the subject of a good faith dispute,
16   precluding waiting time penalties. Where the law has been uncertain, courts hold that
17   an employer did not willfully fail to pay wages and thus does not owe waiting time
18   penalties. Amaral, supra, 163 Cal.App.4th at 1200-1204 (no penalties because legal
19   obligations “were unclear” and “no court had previously addressed the scope or the
20   validity” of law at issue); Barnhill v. Robert Saunders & Co., 125 Cal.App.3d 1, 7-9
21   (1981)(with legal “uncertainty,” employer “should not be penalized”). Willfulness
22   may be “primarily legal in nature.” Amaral, supra, 163 Cal.App.4th at 1203.
23         Here, even if Plaintiff was due interview pay, the state of the law precludes any
24   waiting time penalties on such wages as a matter of law. As discussed, at the least, the
25

26   8
       At this point, Kforce does not concede whether Plaintiff’s employment ended or
     Kforce continued to employ her after the end of her TRG assignment. Such issues are
27   immaterial to resolution of the Fourth Cause of Action, because Plaintiff cannot
     establish either part of her claim in any event.
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1    law has been uncertain with respect to whether employers must pay for interview time
2    spent on an initial interview. No case has held that such initial interviews must be
3    paid. Sullivan, in fact, treated the initial interview as not compensable, as has the
4    Labor Commissioner’s authority. As a result, based on the state of the law up to now,
5    a good faith dispute would exist as a matter of law and bar Plaintiff from recovering
6    waiting time penalties for her claimed interview time.
7          Second, Plaintiff also cannot recover waiting time penalties for the alleged
8    failure to pay her $310.86 in net wages from the final week of her TRG assignment.
9    FAC ¶ 89. As discussed above, this amount was paid at the end of her assignment. It
10   does not remain unpaid; thus, no penalty is due. Accordingly, Plaintiff’s waiting time
11   penalty claim must be dismissed.
12         G.     Plaintiff’s Unfair Competition Claims Also Fail.
13         Plaintiff’s Unfair Competition Law (“UCL”) cause of action, seeking restitution
14   under California Business and Professions Code section 17200 et seq., duplicate the
15   other causes of action. FAC ¶¶ 96-99, 101. It fails as well.
16         UCL claims “depend on the validity” of the underlying claims. Martinez, supra,
17   49 Cal.4th at 48 n. 10. To the extent that Plaintiff seeks restitution of wages, those
18   claims fail here for the same reasons. Her claims based on sections 212, 213, 221, and
19   223 fail to the extent realleged here, as Plaintiff is not due any amounts related to her
20   paycard. Because Plaintiff cannot establish any recovery on the underlying claims,
21   summary judgment follows under the UCL. Johnson, supra, 809 F. Supp.2d at 1139.
22         The remainder of Plaintiff’s UCL claim fails, too. Plaintiff seeks waiting time
23   penalties under section 203 and penalties under section 226 concerning itemized wage
24   payment statements. FAC ¶ 97. Penalties are not recoverable through the UCL.
25   Korea Supply Co v. Lockheed Martin Corp., 29 Cal.4th 1134, 1144 (2003); Cortez v.
26   Purolator Air Filtration Products Co., 23 Cal.4th 163, 178 (2000). Unlike wages,
27   penalties “cannot be recovered as restitution under the UCL” because they are not
28   restitutionary. Pineda v. Bank of America, N.A., 50 Cal.4th 1389, 1401-1402 (2010).
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1                 Under these rules, in Pineda, the California Supreme Court held that waiting
2    time penalties cannot be recovered through a UCL claim. “Section 203 is not designed
3    to compensate employees for work performed. Instead, it is to encourage employers
4    to pay final wages on time, and to punish employers who fail to do so. . . . We thus
5    hold that section 203 penalties cannot be recovered as restitution under the UCL.” Id.
6                 Likewise, itemized wage statement penalties under section 226 also cannot be
7    recovered through a UCL claim.             It provides for a “penalty” for violations.   §
8    226(e)(1). The plain language establishing a “penalty” controls. Morgan v. United
9    Retail, Inc., 186 Cal.App.4th 1136, 1142-1143 (2010). As a result, California courts
10   have held that section 226 establishes a potential “penalty” for violations related to
11   inaccurate wage statements. Murphy v. Kenneth Cole Productions, Inc., 40 Cal.4th
12   1094, 1108 (2007)(holding Legislature “imposed a penalty on employers who fail to
13   provide itemized wage statements that comply with the Labor Code”]; Dunlap v.
14   Superior Court (2006) 142 Cal.App.4th 330, 341 [“an employee [is] entitled to recover
15   a statutory penalty under section 226, subdivision (e).].)           Consequently, because
16   section 226 involves a penalty, Plaintiff also cannot recover any amounts under that
17   statute through a UCL claim. Accordingly, Plaintiff’s Fifth Cause of Action fails.
18   VI.          CONCLUSION
19                For all of these reasons, Kforce respectfully request that the Court grant its
20   Motion for Summary Judgment.
21   Dated: November 25, 2013                   Respectfully Submitted,
22                                              NIXON PEABODY LLP
23
                                          By:    /s/ Paul R. Lynd
24                                              Paul R. Lynd
25                                              Attorneys for Defendant
                                                KFORCE INC.
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